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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:02-CR-005190-AWI-2

12                               Plaintiff,            ORDER GRANTING DEFENDANT’S MOTION
                                                       PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   MELCHOR FLORES-MIRANMONTE,

15                              Defendant.

16

17         The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity

19 Table in USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking

20 offenses. The Government does not oppose the motion. The Court hereby grants the motion.

21         Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

22 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

23 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

24 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,

25 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical

26 types. The Commission also voted to make Amendment 782 retroactively applicable to previously
27 sentenced defendants.

28 ///

      ORDER GRANTING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                         1
              Case 1:02-cr-05190-AWI Document 123 Filed 01/30/15 Page 2 of 2

 1           On May 27, 2003, this Court sentenced the defendant to a term of 235 months in in prison. This

 2 term reflected a downward departure from the defendant’s 262-month recommended sentence. The

 3 defendant’s total offense level was 37, his criminal history category was III, and the resulting guideline

 4 range was 262-327 months. The sentencing range applicable to the defendant was subsequently lowered

 5 by the United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014, see

 6 79 Fed. Reg. 44,973, with an effective date of any such reduction as of November 1, 2015. The

 7 defendant’s total offense level has been lowered from 37 to 35, and this amended guideline range is 210-

 8 262 months.

 9           IT IS HEREBY ORDERED that the term of imprisonment imposed on May 27, 2003, reflected

10 in the judgment dated June 3, 2003, is reduced to a term of 210 months, effective as of November 1,

11 2015.

12           IT IS FURTHER ORDERED that all other terms and provisions of the original judgment remain

13 in effect. The clerk shall forthwith prepare an amended judgment reflecting the above reduction in

14 sentence, an effective date of the amended judgment as November 1, 2015, and shall serve certified

15 copies of the amended judgment on the United States Bureau of Prisons and the United States Probation

16 Office.

17           Unless otherwise ordered, the defendant shall report to the United States Probation Office within

18 seventy-two hours after his release.

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     IT IS SO ORDERED.
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     Dated: January 30, 2015
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                                                 SENIOR DISTRICT JUDGE
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      ORDER GRANTING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                           2
